Case 2:19-cv-OO718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 -Page 1 of 40 Page |D #:43

\DO°*-~JIO\U`l-P-‘~WMJ-*

wmmt\.)z~.)l\)r».)i~.)z~.)»-»-»- '
muc\m.¢>~wm»-c:\oce~q'c?\:§;§:$

 

 

L. BIXBY was intended and represented or impliedly Warranted the Subject Navigation
Light Assemblies, Subject Boston Whaler Boats and/or MARKL. BLXEBYto be of
merchantable qudiiiy, end safe and fn fer irs intended need

103. Defendants, BOSTON WHALER, INC. a.l<,a. BOSTON WHALER a.k.a.
BOSTON `WHALER BOATS; BRUNS WICK CORPORATION; BRUNS WICK _
BOATS, INC.; B_RUNS WICK BOAT GROUP; and Does l to 100, Inclusive, and each of
them, had a duty to exercise reasonable care in the research, dev el opmen't, design, testing, -
manufacture, inspection, labeling, distribution, marketing promotion, sale, lease, and
release ofthe Subject" Navigatiou Light Assel'nl)lie_'s, Subjecl Boslun Wlia]ei Buals and/ur
max L. ames _

104`_ Deeedeni TYLER GARRETT HAYDP.N, nndier these surrounding er in
close proximity to said Decedent, made a decision to use the Snbject Navigation light
Assemblies, Subj ect Boston Whaler Boats andfor AMRK L. BiXBY, and reasonably relied
upon Defendants, BéSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.
BOS'fON WHALER B OATS; BRU'NS WICK CORPORATION; BRUNSWICK

'-BOATS, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inc}usive, and each of

'thern, and their agents to disclose known defects, risks, and dangers of the Subject

Navigatien Light Assemblies, Subj ec'cl Boston Whaler Boats and!or mRK L. BD£BY.
105. t)eeedenr TYLER GARRETT HAYDEN andrer_inene demanding er

_ within the proximity of said Decedent, had no knowledge of the falsity or incompleteness

efDefendeni-e', sosTON wHALER, INC. e.l<.a. BOSTON wHALER e.i<.e. BOSTON

- WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC-;

BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of their,

statements and representations concerning the Subj ect Navigation Ligl'it Assernbiies,

.Subject Boston Whaler Boats and)'or ilMRK-L. BLXIBY when Decedent'TYLER

GARRETT HAYDEN, andfor those surrounding or in close proximity to said Decedent
used the Subj ect Navigation Light Assemblies, Subj eet Boston Whaler Boats andfor

- MMRK L. BIXBY as researched, developed, designed, tested, manufactured, positioned,

32
Compla.int for Damages

 

Case 2:19-cv'-OO718-.]LS-DFI\/| Document 1-2 Filed 01/3'0/19 Page 2 01°40l Page |D #:44

\OQQ--JO\Lh-FLUJN'-‘

M_MNNNNNNN
ce~.:c\mnw'm.-.c‘:§§;g;§$§:g

j BRUNSWICK CORPORAHON; BRUNSWICK_ B__oATs, INc.; BRUNSWICK BoAr

have reasonably discovered such defects

:BOSTON WHALER a.k.a. BOSTON WHALER BOATS; BRUNSWICK

'GARRETT HAYDEN and/or those surrounding or in close proximity to said Decedent
that the Subject Navigation Light Assemblies, Subject Boston Whaler Boats andfor
, LMRK L, BL`KBY was/were merchantable and fit for the purpose intended

' BOSTON WHALER BOA'I`S; BRUNSWIC_K CORPORATION; BRI_H\ISWICK

 

 

placed, constructed, built, maintained, inspected, labeled, distributed, marketed,
promoted, sold and otherwise released into the stream of commerce by Defendants,
BOSTON WH_AL'ER, INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER
BOATS; BRUNSW'[CK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNSWICK BOAT GROUP and Ddes 1 re ioo, inelu_s_ive end eden er rhenn.

106- Defendants, BOSTON WHALER, INC. a. k. a. BOSTON W'HALER a. k. a.
BOSTON WI-IALER BOATS; BRUNSWICK CO_RPORATION; BRUNSWICK
BOATS, INC.; BRUNS WICK BOAT GROUP; and Does l to 100, Inclusive, and each of
them, had sole access to material facts concerning the defects,-and Defendants, BOSTON

WHALER, INC. a.k.a. BOSTON WALER a.k.a- BOSTON W`HALER BOATS;

GROUP; and Does l to 100, Inclusive, and each of them, knew that purchasers
consumers, lessors, users andfor bystanders, such as Deccdent TYLER GARRET'_I`

HAYD_EN and/or those surrounding or in close proximity to said Decedent could not
10'?. By the conduct alleged, Defendants, BOSTON WHALER, INC. a.k.a_

coRPORATION; BRUNSWLCK BOATS, INC.; BRUNSWICK BOAT GROUP; and
Does l to 100, Inelusive, and each of them, ixnpliedly warranted to Decedent TYLER

108. Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.

BOATS, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each‘of
them, breached this warranty in designing, manufacturing selling, leasing, and
distributing the Subject Navigation Light Assemblies, Subject Boston Whaler Boats
and;'or RMRKL. BIXB_Y in a dangerous and defective condition and in failing to warn

33
Complaint for Damages

 

-Case 2119-cv-OO718-.]LS-DF|\/| Document 1-2 `Filed 01/30/19 Page 3 of 40 Page |D #:45

\\DW‘--:|C\Lh.bw'l\}l-¢

Nwwh.>l\.)l\.>l\.>zo ` ,-
cd~donm.hww~YGEE-EEIWE:E

_//

f/

 

 

Decedent TYLER GARRETT _HAYDEN andt’or those surrounding or in close proximity
to said Decedent and purchasers, consumers, l'essors, users and/or bystanders o_f the _
Subj ect Navigation Light Asseml)lies, Subject Boston Whaler Boats andfor AMRKL.
BIXBY of these defects ' , . t

109. As the direct and legal result of the foregoing, and tile death of the l
Decedent TYLER GARRETT HAYDEN, Plaintiffs, GARY FRANKLIN HAYDEN and
DIANNE MARIE HAYDEN, have suffered economic damages, including, but not
limited tot nnanoial support if any, that Deeedent, TYLnR callsan HAYDEN,
would have contributed_to the family during either the life expectancy that Decedent
TYLER GARRETI` HAYDEN had before his death or the life expectancy of Plairitiffs,
GARY FRANI_(LIN HAYDEN and DIANNE MARIE HAYDEN, vdhichcyer is shorter; _
the loss of gifts or benefits that Plaintiffs-, GARY FRANKLIN HAYDEN and DIANNE
MARIE HAYI)EN, would have expeeted to reeeive front neoedent TYLER GARRETT
HAYDEN; Funeral and burial expenses; and!or the reasonable value -of household
servieeo that neeedent TYLER GARRETT HAYDEN would have protdded.

110 As the direct and legal result of the foregoing and the death of the
.Decedent TYLER GARRETT HAYDEN, Plaintiffs, GARY FRANKLIN HAYDEN and
DlANNE MARIE HAYDEN, have_Suffered non-economic damages, including, but not
limited to; the lose of Deoedent TYLER GARRBTr HAY):)EN'o love, eompanlonelnp,
comfort, care, assistance, protection, affection, society, moral support, advice, solace,
physical assistance in the operation and maintenance of the home andfor the loss of
Decedent 'I`YLER GARRETT HAYDEN’$ training and guidance. As a result of such
injuries Plaintiffs seek general damages in an amount to be proved at the time of trial
//

//

//'

34
Complaint for Damages

 

Case 2:19-cv-00718-.]LS-DF|\/| - Document 1-2 Filed 01/30/19 Page 4 of 40 Page |D #:46

\DOU‘--JO\UI-P‘~L#JN$-l

Ml\)-MNNMNNN
eo~aototnctaa-HQG§SEGKEE:S

 

 

'rENra cauer on norton
wrongful neath or neeedent MICHAEL JosnPH HAnnls
Breach Of lm`plied Warranfv
Under California and General Maritime Law
(By Plaintiffs PETER:LESSER HARRIS and JANET CAROL HARRIS against
ALL Named and DOE Defendants, and each of them)
111. Plaintiffs re-allege and incorporate by this reference each and every
allegation in the foregoing paragraphs as though fully set forth hereinl 1
l 12. At relevant times herein, Defendants, 'BOSTON ltl/'I-Id_§d`[_,ER1 I_NC. a.k.a. -
BosToN WHALER a.l<.a. BOSTON wHALER BOATS; BRUNSWICK `
CORPO_RATION; BR'UNSWICK aoArs, lNC.;‘BRUNslirlcl< BoAr oRoUP; and
Does l to 100, Inclusive, and each ofthern, marketed, manufactured promoted,

distributed, leased, or sold the Subject_Navigation Light Assemblies, Subject Boston

~ Whaler Boats and!or MRK L: BIEY for use by the public at Iarge, including the _
' Decedent, MICHAEL JOSEPH HARRIS and!or those surrounding or in close proximity
-- to said Decedent. Said De_fendants, and each of them, knew the use for which their

: -Subject Navigation Light Asselnblies, Subject Boston Whaler Boats and!or AMR.K L.

BDGS’Y was intended and represented or impliedly warranted the Sub j ect Navlgatl on
Light Assernblies, Subject Boston Whaler Boats andfor MARK L. BIXBY to be of
merchantable quality, and safe and fit for its intended uses

113. Defendants, BOSTON WHALER, INC. a. k. a. BOSTON WHALER a. k. a.

.BOSTON _WI-IA`LER BOATS; BRUNSWICK COR_PORATION; BRUNSWICK l
' lBUA”l`S, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of

thcm, had a duty to exercise reasonable care in the research, development design, test_-'ing,

manufacture inspection, labeling distribution, marketing promotion, sale, lease, and

. - release of the Subject Navigation Light Assemblies, Subjcct Boston Wl'_lalcr Boats andfor` _

AMRKL. BLXBY.
ll

35
Complaint for Da.m.ages

 

Case ,2:19-cV-00718-.]LS-DFI\/| Document_l-Z' Filed 01/30/19 Page 5 of 40 Page |D #:47

\DC€-JG\L.h-l=~l.»l\>»-\

l\.)l\.)l\)l\.)t~.)l\.)x\.) ' ' -
eeoc\_tn.eww.ll-°SG§SEUEEB:E

 

 

114. D-ecedent, MICH_AEL JOSEPI-I HARRIS and!or those surrounding or in
close proximity to said Decedent, made a decision to use the Subj ect Navigation Light '
Assemblies, Subject Boston Whaler Boats and/or AMRK L. BZXBY, and reasonably relied
upon Defcndants, BOSTON WHAL`ER, INC. a.k.a. BOSTON WT{ALER a.k.a.
BOSTON' WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK
BOA'I`S, INC.; BRU`NSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of
them,'and`their agents to disclose known defects, risks, and dangers of the Subj ect_ n
Navigation Light Assemblies, Subject Boston Whaler Boats andf or LMRK L. BLY_BY.

ll§. Decedent, MICHAEL JOSEPH HARRIS andfor those surrounding or in
close proximity to said Decedent , had no knowledge of the falsity or incompleteness of
Defendants’, BOSTON WHALER, INC. a.k.a. BOST_ON WHALER a.k,a. BOSTON
WI-IALER BOATS; BR[H.\ISWICK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNSWICK BOAT GROUP; and Does l to 100, Inclusive, and each of their,
statements and representations concerning the Subj ect Navigation Light Assemblies,
subject cotton whalet Boatc and/or max L. rental/when neecdent, anHAEL
.l_OS_`EPH I-IARRIS andfor those surrounding or in close proximity to said Dece'dent, used
the Subj ect‘N-avigation Light Assemblies, Subject Boston Whaler Boats and!or BMRK L.
`BLYBY as researched, developed, designed, tested, manufactured positioned-, placed,

constructed, built, maintained, inspected, labeled, distributed, marketed, promoted, sold

l and otherwise released into the stream of commerce by Defendants, BOSTON
_WHALER, INC. a.l(.a- BOSTON WHALER a.k.a. B_OSTON WHALER BOATS;
_-BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.; BRUNSWICK BOAT

GROUP; and Dcee 1 to 100, lncleeive, and each or than
116. Defcndantc, BOSTON wHALER, INC. a.lt.a. aosToN wnALaR a.h.a.`

‘BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK

BOA'I`S, INC.; BRUNSWICK BOAT GROU`P; and Does- l to 100, Inclusive, and each .-ol_f
theln, had sole access to material facts concerning the defects, and Defendants, BOSTON
WHALER.,'INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WI-IALER BOATS;

36
Complaint for Damage.s

 

Case 2:19-cv-OO718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 'Page 6 of 40 Page |D #:48 '

\D 00 '--J O‘\ V'l -5>» W t\.) >-a `

L\J'l\):ol\)wmmt\.)l\.\ l -
ee-ee-ma.\.em~<:EE-'GEGKES:E

reasonably discovered such defects

BOATS, INC.; BRUNSWICK BOA'I` GROUP; and Does l to 100, Inclusive, and each oft _

'thern, breached this warranty in designing, manufacturing selling, leasing, and

.BIXBY of these defects.

- BIXBY by Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.

 

 

BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.; BRUI~ISWICK BOAT
GROUPi-and Does 1 to 100, Inclusive, and each of them, knew that purchasers,
consumers, lessors, users ande' or bystanders, such as Decedent, MICHAEL JOSEPH
HARRIS and)‘or those surrounding or in clos_e proximity to said Decedent, could not have

ll'i'. By the conduct alleged, Defendants, I§OSTON WHALER, INC. a.k.a.
BOSTON WHALER a.k.a. BOSTON WHALER BOATS‘, BRUNSWICK l
CORPORATION; BRUNSWICK BOATS, INC.; BRU'NSWICK BOAT GROUP; and
Dees 1 re 100, lneiueive, and eaeh of them, impliedly warranted te Deeedenr,' mCHAEL
JOSEPI-I I-_IARRIS andr'or those surrounding or in close proximity to said Decedent, that
the Subject Navigation Light Assemblies, Subj ect Boston Whaler Boats a'ndfor MRK L._
BIYBY was!were merchantable and fit for the purpose intended.

113. t)efendenre, BosroN WHALER, INC. e..k.e. BosroN WHM.ER e.k.e.
BOSTON WHALER BOATS; B`RUNSWICK CORPORATION; BRUNSWICK

distributing the Subject Navigation Light Assemblies, Subject Boston Whaler Boats
andr'or MHRK L. BLXBY in a dangerous and defective condition and in failing to warn
Dccedcnt, MICHAEL JOSEPH HARRIS and/or those surrounding or in closc proximity
to said Decedent, and purchasers, consumers, lessors, users andfor bystanders of the

Subj ect Navigation Light Assemblies, Subject Boston Whaler Boats and-for MdRKL. "

l 19.w As the direct and legal result of the foregoing negligent and careless
design, manufacture, distribution; build, installation, positioning, placement,
construction, assembly, maintenance inspection, monitoring, testing, repair and!or sale of'

the Subj ect Navigation Light Assemblies, Subj ect Boston Whaler Boats and!or LMRK L.

BOS'I`ON WHALER BOATS; BRU`NSWICK CORPORATION; BRUNSWICK

37
Complaint for Da.mages

 

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 Page 7 of 40 Page |D #:49

\oee~`.ichm`-l=»wr~.>»_-"_

Mw`n)mmwmww '= »-
eo~ac\m.c~wm»-QG;;S\'JIEB»-E

 

 

BOATS, INC.; BRUNSWI_CK BOAT GROUP; and Does l to IOO, Inclusive, and each of
them, as helein alleged, and the death of the Decedent MICHAEL JOSEPH HARRIS,
Plaintiffs, PETER LESSER HARRIS and IANET CAROL HARRIS_, have suffered
economic damages, including, but not limited to: financial support, if any, that Decedent,`
MICH.AEL JOSEPH HA_RRIS, would have contributed to the family during either the
life expectancy that Decedent MICHAEL JOSEPH HARRIS had before his death or the
life expectancy of Plaintiffs, PETER LESSER HARRIS and JANET CAROL HARR_IS,
whichever is shorter; the loss of gifts or benefits that Plaintiffs, PETER LESSER- l
HARRIS and JANET CAROL HARRIS, would have expected to receive from Decedent
NHQHAEL JOSEPH HARRIS; Funeral and burial expenses;' andr' or the reasonable value
of household services that Decedent MICHAE_L JOSEPH HARRIS would have provided.
120. As the direct and legal result of the foregoing and the death of the
Decedent MlCI-IAEL JOSEPH HARR.`[S, Plaintiffs, PETER LESSER HARRIS and
JANET CARCL HARR_IS, have'suffered non-economic damages, including, but not
limited to: the loss of Decedent MICHAEL JOSEPH HARRIS's love, companionship,
comfort care, assistance, protection, affection, society, moral support, advice, solace,
physical assistance in the operation and maintenance of the home and!or the loss of
Decedent MICHAEL JOSEPH HARRIS‘s training and guidance As a result of such

injuries, Plaintiffs seek general damages in an amount to be proved at the time of trial.

ELEVENTH`CAUSE en series
Wrnl:n=_f'i"`u`ll Degt_h of Deceg;qz_ut`TYLER GARRETT HAYD]E_-_l§
Bre“a_g_l; Of Express \Ea_l-£:arr:ty-
Un'der lz(l":zi"l:°i`t`cu'nila agd General Mar_it_Lme Law
(By Plaintil`l`s GARY I"RANK]LIN H_AYDEN and DHANNE MARHE HAYI)EN
l against ALL Narned and DOE Defendants, and each of them)
121. Plaintit`fs re-allege and incorporate by this reference each and every '

allegation in the foregoing paragraphs as though fully set forth herein.

' 38
Complaint for Damages

 

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 Page 8 of 40 Page |D #:50

m'l\)rol~)l~.>w m `
ee~en\ei.nee§._.§$’€é§$;$.‘_$§:§

122. '- Defenda_nts, BOSTON WHALER, lNC. a.k.a. BOSTON WI-IALER a.k.a.
BOSTON -WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK 1
BOATS, INC.; BRUNSWICK BOAT GROUP; and Does l'to IOO, lnclusive, and each cf
them, expressly and by advertising, warranted_and represented to the general publi_c,
SEGE.RBLOMS and/or to Decedent, TYLER GARRETT HAYDEN and/or those
surrounding ord in close proximity to said Decedent that the Subject Navigation Light
Assernblies, Subject Boston Whaler Boats and/or M‘FRK L. BLXIBY was reasonably tit for
the purpose for which they were intended.

123. Decedent, TYLER GARRETT I-IAYDEN andfor those surrounding or in
close proximity to said Decedent,d reasonably relied on those War_ranties and
representations The Subject Navigation Light Assemblies, Subject Boston Whaler Boats
and)'or M»JRK L. BIXBY did not conform to the representations made by Defendants, n
BOSTON WI-IALER, INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER
BoAts; BRUNSMCK CORPORATION; BRUNSWICK BoATs, INC.;
BRUNSWICK BOAT GROUP', and Does l to 100, Inclusive,-and each of them, and was

not fit for the purpose for which it was intended When used in a normal and usual

' manner, the Subject Navigation Light Assemblies, Subject Boston Whaler Boats and! or

MARK L. BIXBY caused the fatal injuries to Decedent, TYL'ER GARRE'[T I-IAYDEN, as
set forth above _ _ l ` `
124. Defendants’, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.
BOSTON WHALER BOATS; BRU`NSWICK CORPORATlClN; BRUNSWICK
Boats, mc.; sanitarych BoAr GROUP; end Deee 1 re 100, intensive end eeeh'ed1
their, breach of their express warranties were a substantial factor in causing the injuries as
alleged above. l
- 125. As the'direet and legal result of the foregoing and the death of the
Decedent TYLER GARRETT HAYDEN, Pl_aintift`s, GARY FRANKLIN HAYDEN and '
DIANNE MARIE I-IA`YDEN, have suffered economic damages, including but not

_ limited to: financial support, if any, that Decedent, TYLER GA_RRETT I-IAYDEN,

39

 

 

 

 

Cemplnjnt for Darnages

Case 2:19-cv-OO718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 Page 9 of 40 Page |D #:51

\ooo-.ie\ui.c=`cam~.

wmmioi~.>s.)ml\.)l\)»- »~
oo~ac\mt=-wm»-c>\o;~.:a;z-E§:E

 

 

would have contributed to the family during either the life expectancy that Decedent
TYLER GARRETT HAYDEN had before his death or the life expectancy ofPlaintiffs,
GARY FRANKLI'N HAY`DEN and DI_AN`NE MARIE PMYDEN, whichever i_s shorter;
the loss of gifts or benefits that Plaintiffs, GARY FRANKLIN HAYDEN and DIANNE
MARIE HAYDEN, would have expected to receive from Decedent TYLER GARRE'IT
HAYDEN; Puneral and burial expenses; andfor the reasonable value of household
services that Decedent TYLER GARRETT HAYDEN would have provided

126. As the direct and legal result of the foregoing and the death ofthe
Decedent TYLER GAR]_RETT HAY`DEN, Plaintiffs, GARY FRANKLIN HAYDEN and
DLANNE MARIE I-IAYDEN, have suffered non-economic damages, including, but not

limited to: the loss of Decedent TYLER GARRETT HAYDEN‘s love, companionship,

comfort, care, assistance,-protection, affection, society, moral support, advice, solace,
physical assistance in the operation and maintenance of the horne andf or the lloss of

Decedent TYLER GARRETT HAYD_EN’s_training and guidance As a result of such _

" injuries, Plaintiffs seek general damages in an amount to be proved at the time of trial.

TWELFTH CAUSE OF AC'I`ION
Wrdngrui ncaa of Decedent narcan rosEPH mains
Breach Of Express_ Warra'n`_t_g'F n
Un`d'er C-alifornia a'n'd General Maritime Law _

(By Plaintiffs PETER LESSE'R HARR-IS and JANE'I' CAROL HARRIS against

l ALL Namea aaa nos nereaaants, and each oriaem) l

127. Plaintiffs re-allege and incorporate by this reference each and every -
allegation in the foregoing paragraphs as though fully set forth herein.-

128. _Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.

1 BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSW'ICK

BoATs, 1Nc.; BRUNSW,ICK BoAr oaoui>; and nees 1 to 100, luciusivc, and each of

z them, expressly and by advertising, warranted and represented to the general public, ~

40
Comp|aint for Da.mages

 

CaSe 2:19-0_\/-00718-.]LS-DF|\/| D_Ocument 1-2 Filed 01/30/19 Page 10 of 40 Page |D #:52

l-¢

NNNMNNNN '
eo-.ic\m.tcmwr-g;‘;;a;:$§:§

\.Dde-.ra\c.n.p.w_l\g

 

 

DULEYS and/or to Decedent, MICHAEL JOSEPH HARRJS and/or those surrounding o_r
in close proximity to said Decedent that the Subject Navigation Light Assemblies,

Subj ect Boston Whale_r Boats andfor MARK L. B!XBY was reasonably tit for the purpose
for which they were intended l l - '

129. Decedent, MICHAEL J 0 SEPH HARRIS and/or those surrounding or in
close proximity to said Decedent, reasonably relied on those warranties and
representations The Subj ect Navigation Light Assemblies, Subject Boston Whaler Boats
andfor MRK L. BDCB}" did not conform to the representations made by Defendants,
BOSTON WHALER, INC. a.lc.a. BOSTON WHALER. a.k.a. BOSTON WHALER
BOATS; BRUNSWICK CORP ORAHON; BRU`NSWICK BOATS, INC.;
BRUNSWICK BOA'I` GROUP; and Doe_s ll to 100, Inclusive, and each of them, and was

not tit for the purpose for which it was intended When used in a normal and usual

z manner, the Subject Navigation Light Assemblies, Subject Boston Whaler Boats andfor
- marc L_ spray caused thc fatal injuries ic Dcccacni, MICHAEL JosEPH HARRIS, nc

` set forth above.

130_. Defendants’, BOSTON WHALER_, INC. a.l<.a. _BOSTON WHALER a.k.a
BQSTQN WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK

lBOATS, INC.; BRUNSWICK BOAT GROUP; and Does l to 100, Inclusive, and each of

` their, breach of their express warranties were a substantial factor in causing the injuries as

alleged above.
131. As the direct and legal result of the foregoing negligent and careless

.‘ design, manufacture, distribution, build, installation, positioning, placement

construction, assembly_, rr'laintenance1 inspection, monitoring, testing, repair and!or sale of
the Subject _Navigation light Assemblies, Subject Boston Whaler Boats andfor lLMRK L. d
B.LXBY by Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.
BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSW]CK
BoArs, rNC.; BRUNSWICK BoAT GRoUP; cna Dccc 1 1c 100, Ineincivc, and each cf
them, ns herein clicgca, and the dean efthc Decedent MICHAEL rosEPH HARRIS,

4 l
Complaint for Da.mages

 

Case 2:19-cv-00718-.]LS-DF|\/| Document- 1-2_ Filed 01/30/19 Paoe ll of- 40 Page |D #:53

p_¢

1-1 )-l »-1 1-~\ i-l 1_ »-» 1-~ 1--
00 ‘-J O\ 'Jl -P~ L»J N '-* `D`

`r~ar~.)i\.)
assesses

\Qo€‘-JO\\.AAWM

k~.)'i-u
D\-Cl

Pininarfn, PETER LEs sea HARRIS and JANEr CAaoL HARRIS, have enriched
economic damages, including, but not limited to: financial support, i_f any, that Decedent,
MICHAEL .TOSEPH HARR_IS, would have contributed to the family during either the
life expectancy that Decedent MICHAEL JOSEPl-I I-IARRIS had before his death or the
life expectancy of Plaintiffs, PETER LES SER HARRIS and JANET CAROL HARRIS,

' whichever is shorter;‘the loss of gifts or benefits that Plaintiffs, PETER_LESSER

HARR!S and .TANET CAROL HARRIS, would have expected to receive from Decedent

' MICHAEL JOSEFH HARRIS; Funeral and burial expenses; and/ or the reasonable value
` of household services that Decedent MICHAEL IOSEPH_ HARRIS would have provided.l `

132. As th_e direct and legal result of the foregoing and the death of the Decedent

` MICHA_EL JOSEPH I-IA.RRIS, Plaintitf`s, PETER LESSER HARRIS and IANET
_ CAROL'I-IARRIS, have suffered non-economic damages, including but not limited to:

the loss of Decedent MICHAEL JOSEPH HARR_IS'$ love, companionship, comfort, oare,

1 assistance, protection, affection, society, moral support, advice, solace, physical
l assistance in the operation and maintenance of the home and!or the loss of Decedent

- MICHAEL ]OSEPH HARRIS‘s training and guidance. As a result of such injuries,

Plaintiffs seek general damages in an amount to be proved at the time of trial.

THIRTEENTH CAUSE OF ACTION
_ Negligent Prod.uct`s Liability'
Un'der Califoruia and_ General Maritim_e Law _.
(By Plaintiff, KELLY MARGARET WELLS, as against ALL Namcd and DOE
Defendants, and each of them)
133. Plaintiffs re-allege and incorporate by this reference each and every

- allegation in the foregoing paragraphs as though fully set forth herein. _

134. Defendants, BOSTON WHALER, INC. a.k.a. BOSTON W{ALER a.k.a.

`.BOSTON WHALER BOATS;`BRUNSWICK CORPORATION; BRUNSWICK
_ BOATS, INC.; BRUNSWICK BOAT GROUI-‘; and Does 1 to 100, Inclusive, and each of

42

 

 

 

 

Complaint for Damages

CaSe 2:19-_CV-OO718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 Page 12 of 40 Page |D #:54

\-D'OQ "--.`| O'\ U`I h L»J

10
11
12
` 13
14
15
16
17

18l

19
20
21
22
-23
24
25
26
2'?`
28

lNavig`ation Light Assernblies, Subj ect Boston Whaler Boats andfor AMRKL. BLYBK

`Assemblies, Subject Boston Whal er Boats and!or MRK L. BLYBY so as to reasonably

` them, knew or should have known that if the Subject Navigation Light Assemblies,

them,lwere engaged in thc manufacture,_ design, testing producing inspecting vending
building constructing positioning placement, distributing introducing into interstate -
commerce transporting in interstate commerce, advertising selling leasing installing
and assembling and recommending for usc to the general pdblic the Subj ect Navigation' .
Light Assembl_ies, Subject Boston Whaler Boats and/or AMRK L. BLXBY.

l 135. Defendants, BOSTON WHALER, INC. a.lc.a. BOSION W'HALER a.k.'a. '
BOSTON WHALER BOATS; BRU`NSWICK CORPORATION; BRUNSWICK
BoATs, INC.; BRUNSMCK BoA'r GRoUP-; and Do@s 1 to 100, rnclusive, and each oil

them, owed duties of care to actual and potential customers With respect to the Subject

Such duties included but were not limited to: designing formulating manufacturing
constructing building positioning placing distributing leasing selling and providing '
the Subject Navigation Light Assemblies, Subject Boston Whaler Boat_s and/or MARK L.
BLXBY in a fashion that was safe to consumers; packaging the Subject Navigation Light
Assemblies, Subject Boston Whaler Boats and! or LMRK L. BIXBY Safcly so as to

reasonably minimize the potential for injury; labeling the Subject Navigation Light

warn consumers of the potential for danger; and reasonably applying knowledge and
information from past incidents, complaints, studies,_ observations, reports, experience, _or

investigation to provide for the safety of consumers With respect to the products

13`6. `nefenaams,sosron wHALER, INC. a_k.a.sosron.wHALsR a.l<.a.v _ _ -

nosroN names BoArs; BRUNszCK conPoRAnoN; BRUNSMCK
BoArs, lINC.; BRUNSWICK BoAr GROuP; and Does 1 co 100, luciusive, and each air

Subject Boston Whaler Boats and/or MARK L. BIXBY was/were not properly and
carehllly manufactured, built, constructed, positioned, placed, designed, tested,
maintained, inspected, installed, assembled, delivered, molded, warned, labeled, and

signed prior to sale or distribution to consumers, it would, if used by any member of thc

43

 

 

 

Comp|aint f`nr Darnages

 

Case 2:19-cV-OO718-.]LS-DFI\/|-' Document 1-2 'Filed 01/30/19 ` Page 13 of 40 Page |D #:55

\OD°-JO‘\U`l-P-\Wt\.)l-

.l\Jl\-) y
moRUES§EBEESEGISS:B

general public, be_a substantial factor in causing serious and permanent injury.

BOATS, INC.; BRUNSWIC_K BOA'l` GROUP; and Does`l to 100, Inclusive, and each of

Does 1 to 100, Inclusive, and each of them, or should have been discovered by them

 

 

137. Defendants, BOSTON WHALER., INC. a.k.a. BOS'I`ON WHALER a.l<.a.
BOSTON WHALER BOATS; BRUNSWICK CORPORA_TION; BRUNSW]CK

them, negligently and carelessly manufactured constructed, built, placed, positioned,
designed, tested, maintained, inspected, installed, assembled, delivered, moided, labeled,
wamed, signed, leased, and sold the Subject Navigation Light Asseniblies, Subject
Boston Whaler Boats andf or M,¢IRK L. BIXBY so that it was in a dangerous and defective
condition and unsafe for the use and purposes for which it were intended

138. The condition of the Subject Navigation Light Assemblies, Subj ect Boston
Whaler Boats auditor M/iRK L. BLXBY was known to Defendauts, BOSTON _WHALER,
INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER BOATS; BRUNSWICK
CORPORATlON; BRUNSWICK BOATS, INC.; BRU'NSWICK BOAT GROUP; and

through the exercise of ordinary care and reasonable-diligence but was not disclosed or
made known to purchasers,' consumers, lessors, users and!or bystanders of the Subject
Navigation Light Assemblies, Subject-Boston Whaler Boats and;‘or M»etRK L. BLXBY,
including if applicable, Plaintiff, KELLY MARGARET WELLS_

139. At all times herein mentioncd, purchasers, consumers lessozs, users and!or
bystanders of the Subj ect Navigation Light Assemblies, Subject Boston Whalcr Boats
anew MARKL BLYBY, including Plainurr, KELLY MARGARET wELL, had no
knowledge of the defective condition of the Subj ect Navigation Light Asscmblies, n
Subj ect Boston Whaler Boats and`!or AMRK L. BLXBY or of any danger in the use of the
Subj ect Navigation Light Assemblies, Subject Boston Whaier Boats and!or MARK L.
BIXBY. _

140. The negligence-vand carelessness of the Defendants, BOSTON WHALER,
INC. a.k.a. BOSTON WI-IALER a.k.a. BOSTON WHALER BOATS; BRUNSWICK
CORPORATION; BRUNSW`ICK BOATS, INC.; BRUNSWICK BOAT GROUP; and

44
Complaint -for Damages

 

Case 2:159-cv-00718-.]LS-DF|\/|'l Document 1-2 Fj|e_d 01/30/19 Page 14 of 40 Page |D #:56

\o 00 *--J O`\ U¥`-D» L»\) l\..} r--

NNNNNNNN'-N
os-lc\ws»ww»-QGSESJKBE:E

 

 

Does 1 to 100, lnclusive, and each of thcm, was ‘a substantial factor in causing thc
injuries and damages alleged above. - '

- 141. As a direct and legal result of the acts or omissions of Defendants,
BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER
BoATs; BRUN'szCK coRPoRA'rloN; BRUNSWICK BOATS, rNC.§
BRUNSWICK BOA'I` CRi)lJP; and Does l to_l{](), lnclusive, and each of them, as
alleged herein, Plaintiff incurred medical expenses, loss of earnings and other related

expenses and special economic damages, as well as suffering and continuing to suffer in

- the present and into the future, and general damages for her pain and anguish

Additiona`]ly, and as a direct and legal result of the injuries and damages suffered by the
Plaintiff as alleged herein, Plaintiff will in the future suffer special economic damages
consisting of, but not limited to, medical expenses, loss of eamings, and general damages

for pain and suffering '

sounrsais'rn CAUSE or Acrr_oN
Str_i'ct Pro'duct Ijia`bili'tv - Des'ig'.n and Mantt-`fac'tu'ri"ng_' Defiect
Under California and General Maritime Law
(By Piain tiff, KELLY MARGARET WELLS, as against ALL Named and DOE
Defendants, and each of them)

142. Plaintiffs re-alleg_e and incorporate by this reference each and every
allegation in the foregoing paragraphs as though fully set forth_herein.

143. At the time that the Subject Navigation Light Asscmblies, Subject Boston
'Whaler Boats and!or M§¢IRK L. BIXBY led the control of Defendants, BOSTON l
WHALER, INC. a.lc.a. BOSTON WHALER a.k.a. BOSTON WHALER BOATS;
BRUNS WICK CORPORATION; BRUNSWICK BOATS, INC.; BRUNSWICK BOAT

. GROUP; and Does 1 to 100, lnclusive, and each of them, the Subject Navigation Light

Assemblies, Subj ect Boston Whaler Boats and/or il/MRK L. BIXBY was dangerous and

defective as a result of design, manufact'ure, alteration, or modification by Defendants,

45
Complaint for Damages

 

Case 2:19-cv-OO718-.]LS-DFI\/| Document _1-2 Filed 01/30/19 Page 15 of 40 Page |D #:57

ha

t~.)c~)t~.>t\.)t~ot\)t\)t~o "
ee~te~th.p..c=~.-YE;S`&'GEEE:S

\Dco-.J.O\Lh-P-\-»JN

_ MRK L_. BLYBY in a safe manner and to transmit any relevant warnings about the

- being used in a manner and fashion that was foreseeable Defendants, BOSTON

i BRUNSWICK CORPQRATION; BRUNSWICK BOATS, INC.; BRUNSWICK BOAT

- GROUP; and Does l to 100, Inclusive, and each of them, and in a-rnanner'in which the

: BIXBY was intended to be used.

BOSTON WHALER BOATS; BRU'NS WICK CORPORATION; BRUNSWICK

§ them, manufactured, constructed, built, positioned, placed andfor designed the Subject

 

 

BOSTON WHALER, INC._ a.k.a. BOSTON WHALER a.k.a. BOSTON WHAL'E,R
BOATS; BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNS wrci< BoAT GROUP; and`r)ecs 1 te 100, nci_uctve, end each efthcm.
144T At all times relevant, Defendants, and each of them, knew and intended that
the Subject Navigation Light Assemblies, Subject Boston Whaler Boats and/or AMRK L.-
BLXBY would be purchased, rented, leased, used, occupied and/or operated by members
of the general public who would rely on Defendants, BOSTON WHALER, INC. a.k.a. _
BOSTON WHALER a.k.a. BOSTON WHALER BOATS; BRUNSWCK
CORPORATION; BRUNSWICK BOATS, INC.; BRUNS\RFlCK BOAT GROUP; and
Does 1 to 100, Inclusive, and each o_f them, to safely design, manufacture,' market and

distribute the Subj ect Navigation Light Asseinblies,w Subj ect Boston Whaler Boats andfor

product
145. At`the time cfttte incident giving rice te this Cemptaint, the subject
Navigation Light Assemblies, Subject Boston Whaler Boats andfor BMRKL. BIXBY was

WHALER, INC. a.k.a. BOSTON wHALER e.k.a. nosroN WHALER noisng

subject Navtgeticn Light Assembitcs, subject Besten Whaiet seats waterman L_
146. Defendants, BOSTON WHALER, I`NC. a.k.a. BOSTON WHALER a.k.a.

BOA'I`S, Il\lC.; BRUNSWICK BOAT GROUP; and Does l to 100, Inclusive, and each_of

Navigation Light Assemblies, Subject Boston Whaler Boats and/or MdRK L. B]XBY

defectively or knew its manufacture, construction, placement, positioning and! or design

'was defective, or both, causing the Subject Navigation Light Assernblies, Subject Boston

46
Complaint for Darnages

 

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 Page 16 of 40 Page |D #:58

)_¢

MMNNNMNMNH-*-*)-,H\-*w\-¢t-r-¢»-¢
ce-_lo\ui-e»wm»_c>\poe-.io\m.n.mm._.¢

~.oeo-_:o\_m.r=»wt\.)

 

 

Whaler Boats andfor il/MRK L. BIXBY to fail to perform as safely as an ordinary
consumer would expect when used in an intended or reasonably foreseeable manner.

14?. In addition, the risks inherent in the design, positioning, placement,
manufacture and!or construction of the Subj ect Navigation Light Assemb_lies, Subj ect
Boston Whaler Boats and/or ]LMRKL. BIXBY outweigh any benefits ofthat design.

_148.' As a legal result of the aforementioned dangerous and defective condition
of the Subj ect Nayi galion Light Assemblies, Subj ect Boston Whaler Boats and!'or AMRK
L. BlX]dK Plaintiff, KELLY MARGARET WELL_S, was injured and suffered damage as '
alleged herein. '

.149. As a direct and legal result of the acts or omissions of Defendants,
B_OSTON WHALER., INC.'a.k._a. BOSTON WHALER a.k.a. BOSTON WHA]_.ER
BOATS; BRU`NS\VICK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNSWICK BOAT GROUP; and Does l to 100, Inclusive, and each of them, as

_ alleged herein, Plaintiff incurred medical expenses, loss of earnings and other related

expenses and special economic damages, as well as suffering and continuing to suffer in
the present and into the future, and general damages for her pain an_d anguish.
Additional]y, and as a direct and legal result of the injuries and damages suffered by the _
Plaintiff as alleged herein, lPlaintiff will in the future suffer special economic damages

consisting of, but not limited to, medical expenses, loss of eamings, and general damages

for pain and suffering

FIFI`EENTH CAUSE OF ACTION
Strict.Prodlgct§LLibilitY '~ F'aMl‘e to W.arg of l)efegt_ive Cogclijig)g -
Under Califorlnia and Geg;gl Maritime Law
(By Plaintii`f, KEL]LY MARGAR]ET WE]LLS, as against AL]L Named and DOE
` Det'endants, and each of them)
150. Plaintiffs re-allege and incorporate by this reference each and every

allegation in the foregoing paragraphs as though fully set forth herein.

47
Complaint for Damage`s

 

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 Page 17 of 40 'Page |D #:59

L_l

1-¢,-1-`>-¢1-¢:-41-¢1--»1-¢>-¢
oo-~.IO\LA-§~w[\J»-C:

- Whaler Boats and/ or M‘iR_K L. B}XBY was so defective that when used in a way that was

\DOQ‘-.]O\Lh-i`l\-W[\J

- placement, construction, build and/or sale of the Subject Navigation Light Assemblies,

_ CORPORATION; BRUNSWICK BOATS, lNC.; BRUNSWICK BOAT GROUP; and

 

 

151. The Sub j ect Navigation Light Assei_nblies, Subj ect Boston Whaler Boats
and!or AMRK L. BIXBY was in a dangerous and defective condition when introduced into
the stream of commerce by Defendants, BOSTON WHALER, INC. a.k.a. BOSTON `
WHALER a.k.a. BOSTON WHALE_R BOATS; BRUNS WICK CORPORATION;
BRUNSWI_CK BOATS, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 1_00,

Inciusive, and each of them. The Su bj ect Navigation Light Assernblies, Subject Boston

reasonably foreseeable,' the potential risks of the Subject Navigation Light Assemblies,
Subj ect Boston Whaler Boats and/' or AMRK L. BLXBY created a substantial danger to
purchasers, lessors, consumers, Iessors, users and/or bystanders of the Subject Navigationt
Light Assembiics, subject Bestee enact seats sewer man L_ Br:t'sr see ethers, and
could and would cause those serious injuries ` l

152. The Subject Navigation Light Assernblies, Subject Boston Whaler Boats
and!or AMRK L. BD(BY had potential risks that were known or knowable by the use of

scientific knowledge available at the time of manufacture, distribution, lease, positioning

Subj ect Boston Whaler Bo ats andjor LMRK L. BIX'BY. Defendants, BOSTON WHALER,
INC. a.k.a. BOSTON WHALER a.l<.a. BOSTON WHA.LER BOATS; BRUN_SWICK

Does 1 to 100, Inclusive, and each of them, knew, or in the exercise of reasonable care,
should have known that the potential or inherent risks presented a substantial danger to
purchasers lessors, consumers, lessors, users and/'or bystanders ofthc Subject Nairi'gat_`idn
Light Assemblies, Subject Boston Whaler Boats andfo_r J`l/MRK L. BLX'BY because
defendants possessed special knowledge of the materials, design, character, and _
assemblage of the Subj ect Navigati on Light Assemblies, Subj ect Boston Whaler Boats
and!or ii/MRK L, BD(BY. Plaintift`, KELLY MARGARET WELLS, and ordinary
pu'rchasers, lessors, consumers, lessors, users andf or bystanders would not reoognize, nor

have knowledge that the Subj ect Navi gation Light Assemblies, Subject Boston Whaler

48
Co:nplaint for Da.mages

 

Case 2:19-cv;00718-JLS-DF|\/| Document 1-2 Filed 01/30/191 Page 18 of 40 ` Page_|D #:60

\D DQ ‘-.l G\ Lh -&» W'i\-)

wmmt~)l\)tomml\.) `
-oo~aa\m_.r=~.w\\)»-QE;SE'\JEU>E:E

»- '

_' Boats andror marin amax

f KELLY `MARGARET WELLs's harm.

. aosroN wHALER, rNc. area BosroN wHALER a.k.a. sosroN wHALER
_ soArs; sRuNswreK coss`oaanou; BRUNSWICK noA'rs, INC.;

' consisting of, but not limited to, medical expenses, loss of earnings, and general damages

 

 

Boats and/or AMRK L. BIXBY wasfwere dangerous and defective

153. Although possessed ot special knowledge of-_the potential risks and
substantial danger to purchaserS, lessors, consumers, lessors, users and/or bystanders of
the Subject Navigation Light Assernblies, Subject Boston Whaler Boats and/or AMRK L.
BIXBY and others, Defendants, BOSTON W}L¢\LER, INC. a.k.a. BOSTON WHALER ii
a.k.a'. BOSTON WHALER BOA.TS'; BRUNSW`ICK CORPORATION', BRUNSWICK
BOATS, ‘INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of
them, failed to adequately warn or instruct of the potential risks and dangerous and

defective conditions of the Subject Navigation Light Assemblies, Subject Boston Wha|er

154. ` Plaintiff, KELLY MARGARET WELLS, was hanned and suffered the
injuries and damages alleged as alresult of Defendants' failure to adequately warn. The

lackL of sufficient warning or instructions was a substantial factor in causing Plaintiff, l

155. As a direct and legal result of the acts or omissions of Det`endants,

lBRUI*JSV\"'ICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of them, as
alleged herein, Plaintif`f incurred medical expenses, loss of earnings and_other related
expenses and special economic damages, as well as suffering and continuing to suffer in
the present and into the future, and general damages for her pain and anguish. l
Additionally, and as a direct and legal result of the injuries and damages suffered by the

Plaintii`f as alleged herein, Plaintiff will in` the future suffer special economic damages

for pain ana suffering
tx

a '

w

49
Complajnt for Da.mages

 

Case_2:19_-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 -Page 19 of 40 Page |D #:61

\DN-JC\Lh-F-WM~

wmmmr~)mc~)wce n
oo~.re\m.n»tum»--QG§EQ"'\J'EU)EEE

 

 

SIXTEENTH CAUSE OF ACTION
Neglig` ence
Under Cali____fornia__ and General Maritime La__w
(By Plaintift', KELLY MARGARET WELLS, as against ALL Narned and DOE
Defe`ndants, and each of them) '

156. Plaintiffs re-allege and incorporate by this reference each and every
allegation _in the foregoing paragraphs as though fully set forth herein.

15 7. Plaintiffs are informed a_nd believe and based thereon allege that as the
direct and legal result of the foregoing negligent and careless ac_ts, omissions, carel
maintenance inspection, monitoring, testing, and!or repair of the Subject Naviga_tion
Light Assernblies, Subj ect Boston Whaler Boats and/or AMRK L. BLXBY by Defendants,
BOSTON M{ALER, INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER
BOATS; BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNSWICK BOAT GROUP; and Does 1 to 100, Ine]usive, and each of them, as
herein alleged, Plaintiff incurred medical expenses, loss of earnings and ether related
expenses and speei`al_eeonornic damages, as well as suffering and continuing to suffer in "
the present and into the future, and general damages for her pain and anguish
Additionally, and as a direct and legal result of the injuries and damages suffered by the
Plaintiff as alleged herein, Plaintiff will in the future suffer special economic damages

consisting of, but not limited to, medical expenses, loss of earnings, and general damages

for pain and suffering

SEVENTEENTH CAUSE OF ACTION
`Breaclr Of.lmp'lied Wai_~rani_.]§' '

Un'der:'Califorgia agd -Generé_a`l_ Mar=i`time haw

n '(By Plaintiff, KELLY_MARGARE'][` WELLS, as against ALL Named and DU]E
Defendants, and each of them) '

50 ‘
Cernplaint for [_)a.mages

 

` CaSe 2219-CV-OO718-.]LS-DF|\/| DOCUment 1-2 - Fi|€d 01/30/19' Pag€ 20 Of 40 Page |D #:62

p-

NNNMMNNN\)` .
ooqo\w-p-mw_i:'@;:;‘\;z;§:g

\DOQ-.IO\L)'¢J=-_mw

- Light Assernblies, Subject Boston Whaler Boats and/or M4RK L. BLX'BY was intended

; Boston Whaler Boats and/or MARK L. BLYBY to be of merchantable quality, and safe and

' fit for its intended uses.

- AMRKL. BLYBY.

 

 

158. Plaintiffs re-allege and incorporate by this reference each and eyery n
allegation in the foregoing paragraphs as though fully set forth herein.

159. At relevant times herein, Defendants, BOSTON WHALER, INC. a k a.
BOSTON WHALER a.k.a. BOSTON WHALER BOATS; BRUNSWICK _
CORPORATION', BRUNSWICK BOATS, INC.; BRUNSWICK BOAT GROUP; and
Does `1 to 100, Inclusive, and each of them, marketed, manufactured, promoted, _
distributed, leased, or sold the Subject Navigation Light Assernblies,- Subject Boston
Whaler Boats and!or .AMRK L. BIXBY for use by the public at large, including the
Plaintiff, KELLY MARGARET WELLS and!or those surrounding or within a close

proximity to said Plaintiff. Defendants knew the use for which their'Subject Navigation

and represented or impliedly warranted the Subject Navigation Light Assernblies, Subject

160. Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.
BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK
BOATS, INC.; BRUl\lSWICK BOAT GROUPi and Does 1 to 100, lnclusiire, and each 'of
them, had a_duty to exercise reasonable care in the research, development, design, testing,
manufacture inspection, labeling, distribution, marketing, promotion, sale, lease, and

release of the Subject Navigation Light Assernblies, Subj ect Boston Whaler Boats and/or

161. _Plaintiff, KELLY MARGARET WELLS andfor those surrounding or
within a close proximity to said Plaintiff, made a decision to use the Subject Navigati on
right nesembiies, sebjeer seems wherer sears endxer MARKL_ anna and reeeeneeiy
relied upon Defendants, BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a.
BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK
BoA'rs, INC.; BRUNswrcK BoAT GRoUP; end nees 1 re 100, neiusive, end eeeh er

them, and their agents to disclose known defects, risks, and dangers of the Subject

51
Complaint for Damages

 

Case 2:19-cv-OO718-.]LS-DFI\/| Document 1-2 -Filed 01/30/19 Page 21 of 40 Page |D #:63

\ooo-.ich`u:-t>~wc~.)._-

Nwmmmmwmw»-»--»--
eo~do\m-r=~u)w»~c:>\ooo~dag§;§:;

.marketed, promoted,` sold and otherwise released into the stream of commerce by
`Defe_ndanrs, BOSTON WHALER, INC. a.k.a. BosToN WHALER a.k.a. BOSTON
l WHALER BOATS§ BRU_NS WICK CORPORATION; BRUNSWICK BOATS, INC.;

: consumers, lessors, users and!_or bystanders, such as Plaintit`i', KBLLY MARGARET

 

 

Navigation Light Ass'emblies, Subject Boston Whaler Boats and!or MARKL. BIXBY.
162. Plaintiff, KELLY MARGARET WELLS andfor those surrounding or
within a close proximity to said Plaintiff, had no knowledge of the falsity or
incompleteness of Defendants’, BOSTON WHALE,R, INC a k. a. BOSTON WHALER
a.k.a. BOSTON WHALER BOATS; BRUNSWICK CORPORATION; BRUNSWICK
BOATS, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, lnclusive,. and each of '
their, statements and representations concerning the Sub j ect Navigati on Light
Assemblies, Subj ect Boston Whaler Boats and)'or AMRK L. BIXBY Wh en P]aintiff,
KELLY MARGMET WELLS andtor those surrounding or within a close proximity to
said Plaintift: used the Subj ect Navigation Light Assemblies, Subject Boston Whaler _
Boats andfor AMRK L. BIXBY as researched,'develop ed, designed, tested, inanufactured,
positioned, placed, constructed, built, maintained, inspectcd, labeled, distributed,

BRUNSWICK BOAT GROUP; and Does 1 `to 100 Inclusive, and each of them.

163. Defendants, BOSTON WHALER, INC. a. k. a. BOSTON WHALER a k. a.
BOSTON WIL¢\LER BOATS; BRUNSWICK CORPORATION; BRUNSWICK
BOATS, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of
them, had sole access to material facts concerning the defects, and Defendants, BOSTON
WHALER, INC. a.l<.a. BOSTON WHALER a.k.a. BOSTON WHALER BOATS;
BRUNSWICK_ CORPORATION; BRUNSWICK BOATS, INC.; BRUNS‘WICK BOAT
GROUP; and Does 1 to 100, Inclusive, and each ofthem, knew that purchasers, l

WELLS and! or those surrounding or within a close proximity to said Plaintiff, could not
have reasonably discovered such defects `

164 ny the conduct alleged, Defendanrs, BosToN WHALER, INC. a.k.a_
BOSTON WHALER a.k.a. BOSTON WHALER BOATS; BRUNSWICK

52
Complaint for Damages

 

Case 2:19-cv-_OO718-JLS-DFM Document 1-2 Filed 01/30/19_ Page 22 of 40 Page |D #:64

\eoe-.lc~tn.l=.i.el\.>,-i

roviarome "'
magmamw§g;§;;';z$§:'§

dC0R.`E’ORA'I`IO]\!‘; BRUNS WICK BOATS, lINC.; BRUNSWICK BOAT GROllP; and

' the Subject Navigation Light Assemblies, Subject Boston Whaler Boats andfor AMRK L.

Does 1 to 100, Inclusive, and each of them, impliedly warranted to Plaintiff, KELLY
MMGmT WELLS andfor those surrounding or within a close proximity to said
Plaintiff that the Subj ect Navigation Light Asserr`rblies, Subj ect Boston Whaler Boats
and/or AMRK L. BIXBYwasfwere merchantable and fit for the purpose-intended

165. Defendants, BOSTON WHALER, INC. a.l<.a. BOSTON WHALER a.k.a. n
BOSTON WHALER BOATS; BRU`NSWItJK CORPORATION; BRUNSWICK
BOATS, INC.; BRUNS WICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of
them, breached this warranty in designing, manufacturing selling, leasing, and
distributing the Subject Navigation Light Assernblies`, Subject Boston Whaler Boats
and/_or AMRK L. BLYBY i_n a dangerous and defective condition and in failing to warn
Plaintiff, KELLY MARGARET WELLS andfor those surrounding or within a close

proximity to said Plaintiff, and purehasers, consumers, lessors, users and!or bystanders of

isran orange defects

1_66. _ As a direct and legal result of the acts or omissions of Defendants,
BOSTON WI-IALER, INC. a.k.a. BOSTON WI-IALER a.k.a. BOSTON WHALER
BOATS; BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.;
BRUNSWICK B(')AT-GROUP; and Does 1 to 100, Inelusive, and each of them, as
alleged herein, Plaintiff incurred medical expenses, loss of earnings and other related
expenses and special economic damages, as well as suffering and continuing to.suffer in
the present and into the future, and general damages for her pain and anguish
Additionally, and as a direct and legal result of the injuries and damages suffered by the
Plaintiff as alleged herein, Plaintiff Will in the future suffer special economic damages
consisting of, but not limited-to, medical expenses, loss of eamings, and general damages
for pain and suffering 1 '
!/
ff

53

 

 

 

 

minn for emerges

- Ca'Se 2:19-cv-00718-.]LS-DFI\/| Document 1-2 Filed 01/30/19_ Page 23 of 40 Page |D #:65

\ooo-.:o\m`.t>~cei~.ii_-

wmmi~.i~i~.i\~.>r~si~a»~ `

SEVENTEENTH CA‘USE OIF ACTION 1
_ Breach t)f Express Warranly
_ usasi~_ Cslirumis sua design Msricims LM
`. (By Plaiofiff, KELLY MARGARET WELLS, as against ALL _Named and DOE
Defendants, and each of them} _'

16?. Plaintiffs re~allege' and incorporate by this reference each and every d

_ allegation in the foregoing paragraphs as though fully set forth herein.

168. Defendants,` BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k;a.
BOSTON WHALER B_OATS; BRUNSWICK CORPORA'I`ION; BRUNS,WICK'
BOATS_, INC.; BRUNSWICK BOAT GROUP; and Does 1 to 100, Inclusive, and each of '
them, expressly and by advertising, warranted and represented to the general public, d
SEGERBLOMS and!or to Plaintiff, KELLY_ MARGARET WELLS and/or those
surrounding or within a _close_ proximity to said Plaintiff that the Subject Navigation Light

Assernblies, Subject B_oston \_Vhaler Boats and/or AMRK L_. BL‘UY was reasonably fit for

the purpose for which they were intended.

1'69. PlainHE KELI_.Y MARGARET WELLS and/or those surrounding or '
within a close proximity to said Plaintiff, reasonably relied on those warranties and
representations The Subject Navigation Light Assernblies, Subject Boston Whaler Boats
andfor AMRK L. BD{BY did'not conform to the representations made by Defendants,
_BOSTON WHALER, INC. a.k.a. BOSTON WHALER a.k.a. BOSTON WHALER

: BOATS; BRUNSWICK CORPORATION; BRUNSWICK BOATS, INC.;

B,RU'NS'WICK BOAT GROUP; and Does l to 100, lnclusive, and each of them_, and was
not fit for the purpose for which it was intended. When used in a normal and usual

manner, the Subject Navigation Light Assemblies, Subject Boston Whaler Boats andfor

s max L. Brxar caused the serious personal injuries rs Plsimirr, KELLY MARGARET

WELLS, more fully set forth above. _
170. Defendants’, BOSTON WHALER, INC. a.l<.a. BOSTON WHALER a.k.a.

BOSTON WHALER BOATS; BRUNS WICK CORPORATION; BRUNSWICK

54

 

 

 

 

Complaint for Damages

(_JaSe 2:19-cV-00718-.]LS-DFI\/| Dpcument 1_-2 Filed 01_/30/19 Page 24 of 40 Page |D #:66

|-d

\Ooc-.:c\u\'-P~L»w

i~.)r~)r~.>wmr~)i~.)r~.>i~.i»-~ '
oesaescn-c~ww-c>\o§:§;:$i$:§

BOATS, INC.; BRUNSWICK BOAT GROUP; and Does l to 100, lnclusive, and each oil
their, breach of their express warranties were a substantial factor in causing the-` injuries as
alleged above.

l')'l. As a direct and legal result of the acts or omissions of Defendants,
BOSTON'WHALER, INC. a.k.a. BOSTON mER a.l<.a. BOSTON WHALER
BOATS; ]_BRUNSWICK CGRPORATTON; BRUNSWICK BOATS, INC.;
BRUNSWICK BOAT GROUP; and Does l to 100, Inclusive, and each of thcrn, as
alleged herein, Plaintiff incurred medical expenses, loss of earnings and other related
expenses and special economic damages, as well as suffering and continuing to suffer in
the present and into the future, and general damages for her pain and anguish
Additionally, and as a direct and legal result of the 1nj_uries and damages suffered by the
Plaintiff as alleged herein, Plarnnff will 111 the future suffer special economic dam ages
consisting of, but not limited to, medical expenses, loss of earnings, and general damages

for pain and suffering

WHEREFORE, Plaintiffs, GARY FRANKLIN HAYD_EN; DIANNE MARIE
HAYDE.N; PETlElR LESSER HARRIS; JANE'I` CAROL HAP._.RIS; and KELLY -
MARGARET WELLS, pray for Judgment against the Defendants, -BOSTON WHALER,
INC. a. k. a. BOSTON WHALER a. k. a. BOSTON WHALER BOATS; BRUNSWICK
CORPORATION; BRUNSW_ICK BOATS_, INC.; BRUNSWICK BOAT GROUP; and

Does 1 to 1_00, Inclusive, and each of them, as follows:

1. For general damages in a sum according to proof;

2. F or special damages for loss of financial support in a sum according to
_ proof;

3. For special damages in a sum according to proof;

4. ` Iior funeral and burial expenses incurred by Plaintiffs in a sum according to
proof;

55

 

 

 

Complaint for Damages

 

Case 2:19-cv-OO718-.]LS-DF|\/|`. Document 1-_2 Filed 01/30/19 Page 25 of 40 Page |D #:67

NNMNMNNNM"
oeqo\'m.nww~o;§';;;I-E§:E

\nco,-.i:nm-r--_wt-l`»--

 

 

. 5. For interest on all economic damages in the legal amount from the date of
Decedents’ death to the date of judgment
6. CostS and expenses of suit incurred herein; and

7. For such other and further relief as the Cou_rt deems just and proper.

Dated: August "' .2_`01'?r _ COl-IEN &

  
  

r"/ _ _
BOB M. COI-IEN, ESQ. -
MICHAEL M._ MARZBAN, ESQ.
Attorney for Plaintiffs

 

56
Complaint for Damages -

 

CaS€ 2219-CV-OO718-\]LS-_DF|\_/|- y DOCUm€nt 1,-2 Flled 01/30/19 Page 26 Of 40 'Page |D #:68

 

 

CJ\SE NL|MBER

S" “"'“EHM_DEN, ET Al_ v BosToN WHALER 1NC ET AL

 

 

 

\

CW|L CASE COVER S'HEET ADDENDUM AND
STATEMENT OF LO_CATION

(CERT|FlCATE OF GROUNDS FOR ASS!GNMENT TO COURTHOUSE LOCAT|ON)

 

 

This form is required pursuant to Local Rule 2.3 in all new civil ease filings in the Los Angeles Superior Court.

 

 

_.

warsaw

Sfep 1: After completing the Civil Case Cover Sheet {Judicial Council for'r'n CM-OIOI, find the exact case type in

Column A that corresponds to the case type indicated in the Ciui| Case Cover‘Sheet_

Sfep 21 in Column B, checli the box for the type of action that best describes the nature of the case..

Step 3. |n Co|umn C circle the number which explains the reason for the court1 filing location you have

 

 

chosen.
l' Applicab|e Reasons for `Choosing Court Filing Location {Co|urnn C]
, class'aciians musi be filed in me sianiey Mosk courihnuse, cenirai oisiriei. 'f. Locatior\ where pelilioner resides

. Location o|' property or permanently garaged vehic|e.

B. Local`ion wherein defendanll'respondent functions wholly.

. Perrnissive filing in cenlral districl.
Locaiion Where cause or action arose_ 9_ Looation where one or more of lhe parties reside.
Mandawry personal injury ming in nunn ossm'm. 1D- LO-livrl vi Labnr Conmissioner Ofi'lce.
' _ _ 11. Mandatory fll|ng location [Hub Ca$es - unlawful detainer, limited
L°ca“°n where perfo'mam"e r_eq""red or dele"dam maldes` non-collection,_ limited collection, or personal injur\r].

 

 

 

 

 

 

 

 

 

 

 

 

 

Auto [22} _ -l:| A?100 Molor Vehic|e - Personal |rijurnyroperty Damagéi'Wrongl'u| Deth 1l 41 11
B t _
§ 12 Uninsured Molorisi [461 El A7110 Personal lnlurylProperly Dan'iageN\.lrong|'u| Dealh - Uninsured Molorisl 1`l 4, 11
1:1 Aso'm Asbesios Prneeny oamage 1,11
Asbeslos (04} _ _
h t El A?221 Asbestos-Persoria| lniury!li\lrongfuiDeath 1_ 11
".‘T.’ - '
m CI - .
§ § Produr.:l Liabililiil [24) B A?ZSO Produr:l Li'abi|ily(not asbestos or toxic.~‘envlronmenial] 1‘ 4, 11
¢‘l.. m _ _
-. m '
§ 95 IIJ A?210 Medica| Ma|practloe - Physicians 81 Surgeons 1. 4. ‘| 1
'- ... Medieal Msl racllce 45
§ 21 p ( 1 El A?240 Cllher Professional Hea|lh Care Ma|praclioe 1. 4, 11
m o - _
s s _ -
§ 3 El A?250 Premises Llabi|lty [e.g.. slip and fal|] 1 4 11
§ § :;:: ::::r:;| El A7230 lrlleritional Bodi|y |njury!Properly Dan‘lagei‘ll".'rongfu| Death (e_g_, 1 4 11
g g DamagE Wmng,u| assaull, vandallsm, elc.] ' '
Dealh (23} 1:1 1172?0 lnieniinnal lnrlieiiun memouonaloisiress 1»4- 11
|J A?ZZU Olher Personal |rljuryllPropeny Damageill'llrorlglu| Deth 1' 4‘ 11
LAcl\r1os(Rev 21161 . CN!L CASE COVER SHEET ADDENDUM ' Local Rule 2.3
sage 1_` 1114

case Appm\.-ed 113-114 _ AND STATEMENT OF LOCATION

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 F'i|e_d 01/30/19 Page 27 of 40 Page |D #:69

 

SHDRT `I'FT‘L E:

 

HAYDEN, ET AL. V. BOSTON \1"JHALER, lNC_, ET Al_.

CJ'\SE NUMBEF\

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Business To='° {Ui') E "'C-ZS OiherConirnerciali'BusinessToil inui iiaudl'orear.~hof williael) 1,2, 3
d- 1:
§ .2 Civil Righ.te (08) i`_“l 1'\6005 C'n.rii Rig|\ts.~‘Disc:riminalion i. 2. 3
.é‘- e
95 § ours-nation 1131 1:1 Aso1__o oeiamaiion (sianueriliben 1l 2, 3
§§ '
.E g' Fraud (15) |J AED13 Fraud [no cnnlracl) 1l 2_ 3
§ §
g __ A501? Legal Ma|praciice 1_ 2. 3
m g Professiona| Neg|igenc:e {25)
n." § El AED§B Other F'rofessional Malpraclice (not medical or lega|) 1, 2,
' c
§ 3
Oll'ier{35) El A6025 Other Non-Persona| lnjury.-‘Property Damageiod . 1, 2, 3
_....._..._......_...._ W
‘E Wronglu|Terminaliori(SS) El NSD3? WronglulTenninalion 11 2_ 3
m ' ‘
. g -
§§ _ _ |:l AB024 OtherEmp|oymenlComplainl Case 1,2. 3
'E_ Ot'ner Employmenr 1151 _ v . 1
E , _ E] A61DB Labor OomrnlsslonerAppeais 1[]
uJ ' ' ' ' _
' E] NSBD-‘-l Breach oi Renta|.'Lease Conlracl {no\ unlawful delainer or wrongiul 2' 5
evicllon] '
Bmach of ccéglg)aw Warmmy |Il AEUBB CDonl1aull"\l\l'arr“ar‘it§il Breach -Sel|er F'|aintiff (no fraudlneg|igence) 2' 5
l"°l msura"°al' El AEU19 Negligenl Breach ol iiionlrac;b‘\l'\lart“anl§ir (rio fraud) 1‘ 2' 5
C| AGGZB Oiher Breach of Ocnirachl‘arranly{not fraud or negligence] 1‘ 2’ 5
§ 121 Aaooz colleaians case-seiler Plainiifi 5, 5, 11
z Co||ei::ilons [09] ` _
§ El 1‘\6012 L‘Jtnchromissory Nolclcoilochons Casc 5, 11
o |Il ABBIM Oo||ections Case- Purc|;\esed Debt (Cnarged Ofl Consumer Debl 5, 6. 11
Purchased on or alter January1 2014)
insurance Coverage (1B] ' |Il AB|J'lS lnsuranc:e Coverage [nol oomp|ex} 1, 2, 5, 8
ill NSBDQ Conlraolua| Fraud 1l 2_ 3, 5
OlherContract(BT) E| A6031 Tortious|nlerferenoe 1,2, 3, 5
_' El ABBZ? Dther Contrar.t bispme(nothreachlinsuranoel'fraudlnegligenoe) 1. 2. 3. 8l 9
Emimmnoma.innnveme El AFSUU Eminen\DomainiCondemnallon, Numberotparoe|s 2,6
Condemnalion (14] '
,__ , , .,
1:
a Wrongful Ev|clion (33) El A6023 Wrong|'u|Eviclion C";.lse 2, 6
o
5
73 E] A6018 Mortgage Forec|osure 2‘ 5
z _ Other Rea| Properl;il (2£} |Il A6032 Qulei Tille 2, 6
' E] AEOEU Other Rea| Property(nol eminent domain. |andlordl'lenani. foreclosure} 2,6 ,
k Un!awfu! Deta(§`_;e)r'conmemia| l.'] A6021 Url|awlu| Deluiner-Cmninen:ia| (nol driqu or wxmglul eviction) B, 11 '
.E _ , . . `
§ U""“W""" De‘:’é;‘;"g“'de"“al Ei naozo unlawful neiginer-Resiaeniaal (1101 drugs or wrongrui evicum; s, 11
1:1 - _ _
§ Unlawfu| Detalner\~ - _p _
§ Pusffwlosure [34) El AGBZUFUn|awfu|Delalner osi Forec|osure 2l 51 11
§ Unlawiu| Detainer~Dmgs {3-8) |Il AS|JZZ Unlawfu| Delainer-Drug$ 2l E. 11
aniv 109 uses 2116) ClVIL CASE COVER SHEET ADDENDUM Lacal Rule 2.3
i.nsc Approved oa~o»i AND STATEMENT OF LOCAT|DN Page 2 014

Case.2:19-cv-OO718-.]LS-D'F|\/| -Document 1-2 Filed 01/30/19 Page 28 of 40

v

Page lt) #:70

 

SHnRr TII`LE;

C)\S E N|JMBE R

 

 

 

HAYDEN, ET AL. \/. BOSTON V"r'H/l\LERl INC., lET AL_

¥.~é-\-. \`¥‘-»w,¢

n '.|
)\S`i‘£,`*

 

 

 

J'udicia| Review

 

 

 

 

 

 

 

 

 

 

Provisiona||y Comp|ex Litigalion

Enforcernent
of Judgment

from Comp|e_x Case_ (41) _

 

 

 

Asset Forfeiture {05} l] A61DB Asset Fodeilure Case 2, 3l 5
Petition re Arbitrai'ron (11} E] AE‘] 15 Petition 10 Compe|chnfirmNac:-Jle Arbitrat`ron 2. 5
|Il AS151 Writ - Administrative Mandamus 2, 8
Wn'i cf Mandate (02} El A6152 Wr'\! ~ Mandamus on Limited Court Case Malter 2
n A6153 wm -'01her _Limned cmm case Review ' 2
Other Judicia] Rgview (39} l] AS‘ISU Other Wril IJudicia.| Reuiew 2, 3 '
Anlihust.-‘Trade Regu|atinn (DS) l] ASDOS Antitrust.FTrz-xde Reg_u|a: ='_ :MTIZ‘ B =
Cons!ru::’rion Dfafect (10} E.l AEO{J? Co-nsirl.lction Deiecl 1, 2_ 3
C!aims |nm{]:i;)g Mass Tm l] ABDO§ C|air'ns |nvn|ving Mass Tort 4 1l 2, B
Securities Li{igatior\ {ZB} D .AEOSS Securitl`es Litigation Case 1, 2\ 3
Endme:?§ (30] n Aao:ss _Tmcic TurvEnvimnmen:al 1l 2, 3, s
lawrean coverage C|aims |:1 AED14 |r'rsr:rance Coverage.-‘Suhrogail'cn (ccmp|ex case on|y} 1, 2l 5. B

 

 

 

 

--»-__¢____~_-¢---
--.__..__~...__¢__._.._._.-_'

`2‘5, 11

 

 

 

M¢sce|laneous
Civil Comp|aints

1;1 Aa_141 ' Sisler slate Judgmem
El A6160 Abstraclnf.]udgmenl d 2.6
Enfomemem -E| AGN? ConfessionofJudgmen!(non-domes|icreialions] 2,9
ofJudgmenifZDJ n Aa140 AdminiswauveAgencyAwarugnmunpaidcexes} 2.a
El A6114 Peh'tion.FCertiHcaieforEntryofJudgmenton Unpal'dTax 2.8
IJ A6112 OlherEnforcementofJudgme-nlcase 2,8,9
Rlco{z?`} ` 121 Aaosa Racke1eering¢Rlco)case 1,2,3 ~
L'J AS{JSD Dec|aratsryRe|iefOn|y 1,2.3
.Olher complaints |] ASD40 |njunctive Re|iei On|y(no!domestidharessment] 2,5
(NO_‘SF€dHe{-TN:'°V€] 1423 [J AEU1_1 O|herCommercl'alComp!a]'ntCase(ncn~lorUnon-complex) 1,2.8
` ' l:: Asouo omarcivilcompraim(nnn.lqn:nbn_wmplex} 1,2,3

Ea“"e“hiP-C¢fli araujo r'r.'

Parlnership add Corporate Gavernance Case

    

 

 

 

 

 

 

 

chemance{21)
E| AE121 C[\rll Harassmenl 2\ 3_ 9
§ § El A6123 Wr)rkplace Harassment 2,3_9
§ § 'Olherpe“"onsmm cl Aa124 Elder:uepen¢gncA¢-lulmnuse case 2,3,9
§ § SpeciHedAhnve]{43} El A6190 E|ectionConteSt _ n 2.
§ 13 [J AGHC| Petilion fanhangeofNamethange ofGender Zl?,
D AE‘\TD PetitionforRe|ieffmm Lala G|aim La`w 2_3-3
|Il A61DO 01herCivl|Pet1'lion j 2.9
LAclv109(Rev211s) CIVIL CASE COVER SHEET ADDENDUM Lo.;el nme 2,3

LASC approved 03-04

AND STATEMENT OF LOCAT!ON

F'age 3 014

 

 

Case 2:19-cv-OO718-.]LS-DFI\/| Document-l-Z_ Fi|e'd 01/30/19 Page 29 of 40 Page |D #:71

 

E: _ _ case NuMGER n
S"°'“““ HAYDEN, ET AL_ V. eosTON WHALER. lNC_. ET AL-

 

 

 

 

Step 42 Sia¥ement of Reasa_n and Address: Check the appropriate boxes for the numbers shown under Colurnn C for the
type of action that you have selected Enter the address which is the basis for the filing losation, including zip code
(No address required for class action cases}.

 

ripeness
REABON: _ ' APPROX|MATELY 114 MILE NORTHEAST OF AVALON
HARBOR, CATAL|NA |SLAND
;"_"1,!JZ.LE3.E4_I_`?5.§_|6,-E7. '_='"B. _ '-'.§`9 _.'10 '\/ 11

 

 

 

 

 

 

 

mw_' STATE: zlP CUDEZ
AvALoN _ - - cA _ 90704 h
Sfep 52 Certification of Assignment: |certif\r_that this case is properlyl filed in the CENTRAL _District of

 

the Superior Court of Ca|ifornia, County of Los Ange|es [Code Ci\r. F‘roc., §392 et seq., and_Local Rule 2.3[a}{1][E}].

 

` 0
DBted: AUGUST z ,201?

 

“ {S|G NATURE OF A'l"|'O RNEY¢"F|L[NG PP¢RTY)

PLEASE HAVE THE FOLLDW!NG [TENIS COMPLETED AND READY TO BE FlLED lN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT C_§ASE:

1, Origina| Comp|aint or Petition_

2 lf filing a Cornplaint. a completed Summons form for issuance by the Clerk.
3. Ci\ril Case Co\rar Shee! Jud|cia| Counci| form CM-010.

4

Ci\ri| Case Co\rer Sheet Addendum and Statement of Looation form, LAC|V 109 LASC Appro\red 03- 04 (Re\r
02!16}.

Payment in fu||_ of _the ming fee, unless there is court order for waiver, partial or scheduled payments

S-*"

6. A signed order appointing the Guardian ad Lilem, Judicia| Counci| form C|V-O1 0. if the plaintiff or petitioner'is a
minor under 18 years of age will be required by Court in orderto issue a summons

7. Add|tional copies of documents to be conformed by the C|erk. Copies-of the cover sheet and this addendum
must be served along with the summons and complaint. or other initiating pleading in the oase. -

 

LAcl\r 109 (Rev 2116) " CWIL CASE COVER SHEET ADDENDUM Locel Rute 2.3
LAsc Approved oeo-4 . AND STATEMENT OF LOCAT!ON " F'age 4 of4

Case 2:19-cv-OO718-JLS-DFI\/| Document 1-2 Filed 01/30/19 Page 30_0i 40 Page |D #:72

SUPERIOR COURT_OF CAL`IFORNIA, Ci{)`l]l\l'l"‘i/l 01'-` LOS ANGELES
NOTKCE OF CAS_E ASSIGNMENT - UNLIMITED CIVlL PERSONAL INJURY CASE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case Numt)i?.rl 36 6? 4 _
THES FORM lS '1`0 BE SERVED WITH_ THE SUM‘MONS AN[) COMPLAINT 1 _ "' 5 5 2
Your case is assigned for all purposes tn the judicial officer indicated below (Loi:a| Rule 3.3(¢:}.
ASS{GNED JUDGE DEPT ROOM ASSIGNED JUDGE DEPT ROOM
iion. P'r\iricis mata 91 632
Hon. Yolanda Oro‘z.co 92 633
Hon. Robe.n B. Broadbi:it _ 93 63t
[~{on: Benny C. Ost)rio _ 97 ` - 630 '
l>( Han, noiiy i. suin _ 9a n 635
rsc='nz 11 ii i 2019 nine nazi asi zim -c_)`$_c-s 0 ar 5 1 i.- mg
Given to the Plaintiffr'Cross-Complainanthti;orney of Ri:cord on SHERRI R. CARTER, Executive Of`f`icori'Cle.rk
By _ ___, [)eputy Clerk

incur Pi 190 inevosna) _ NOTICE OF CASE ASSIGNMENT
LASC Apprnved 05~05 ` _ -
UNLIMITED ClViL CASE

CaS€ 2219-CV-OO71_8-.]LS-DF|\/|

FHLED 2011 SJ-oo9-0d
Stltlerior Couri of Calltorn_ia
Couniy of Los Angeles `
l
AUG E"@ ZUW
- 2 sham §B""¢ Exzutive OffieerlClerk
, 3 - BJ" De u
, llndi'i Mloa p ly
4 SUPERIOR COURT OF Tl-_IE STATE OF CALIFORNLA
§ _ FOR 'I`HE COUNTY OF LOS ANGELES
6 iN Re PERsoNAL n~iJURY ) case NU.:
COURT (“PI Coun") PROCEDURES, )

"" ' cENTRAL merch

Document 1-2 Filed 01/30/19 Page 31 of 40 - Page |D #:73

) SEVENTH AMENDED GENERAL

 

 

 

 

 

 

 

 

 

 

 

8 ‘ (Effeciive Ai_igusig, 201?) ) onoeR -
9 )
)

l10

11
12 -DEPARTMENT: 91 92 ' 93 97 98
113 - '

FmAl-',--'STATUS- e-¢N'FERENCE “Fse” '=
- 1;4 - - ` _ . ' -- _

15 n _ ' 9 Date: at 10:0(] a.m.

16 mm

17 ' ' .9 Il}ate: at 8:30 a.m.
_1-8_ . _ '.-583.210 :

19 e_ Date: et 8:3[| a.m.
29 _ _ _ _
31 - ` _ To eAcH PARTY AND To THE ATTORNE`Y 01= Rec_oso FO`R EACH PARTY-:
22 Puirsuam to the Calit`omia Code of Civi.l E'irocedure (“C.C.P.”), the 'Cal'iforniai

23 Rules of Court (“C.R.C.”) and the Los Angeles County Court Rules (“Locai Rules"}, tl_ie

. 25_
26

27

 

 

24 Los Aingeles Supeirioir Cmiin't (“ILASC” mr “'Coilii.irt”) HERE]BY AMENID§S AND
SUPERSE]DES THE ]FEBRUARY 25, 2016 AMENDED GENIERAL ORDER ANB

GENEJRALLY owens AS FOLLOWS iN _THIS mo ALL dress GENER-AL

 

- Case_2:19-cv-00718-.]__LS-DF|\/| Docuinent 1¥2 Filed 01/30/19 Page 32 of 40 Page |D #:74

1-'0`-

l' 1
_i-z_
13
is

:1.5.'

116

`1.7-
1 3.
12
520
211

.2"`.2'

23
"24
'-25
26
-2'?

Couns" - oepanmenis' 91, 92 and 93], on tamm 6, 2014, a fourth (o¢pamnem 9?), and on

September 28, 2015 a fifth (Department 98) to adjudicate all pretrial matters for these cases

 

 

20 l 7-51-009-0[1

JURISDICTION PER$ONAL IN.IIURY ACT!ONS FILED IN THE CENTRAL
DISTRICT. ' n l

Effective Ldarch lEl, 2013, the-.Couxt responded t_o systemic budget reductions by
centralizing the management o'fmore than 18,000 general jurisdiction personal injury cases in

the Stan.ley Mo_sk Courthouse. LASC initially opened three Personal lnjury Courts (“PI

It also established a Master Calendar Court (Departrrient One) to manage the assignment of
trials to dedicated Trial Courts located countywide. Prior An_iended General Orders laid 'outi'
the basic procedures for the PI Courts’ management of pretrial matters The parties will find
additional information about the'PI Courts on the court’s website, wiewitacourt.`o§g- ;
1. _ ’l`o ensure prop er assigr_iment to a PI Court, Plaintiff(s) must carefully fill out the Civi_l
Case Cover Sheet Addendum (t_`orni I_".ACIV 109). The Court detines “personal injury” as:
g “an unlimited civil-case described on the Civil Case Cover Sheet Addendum and
' Statement of Location (LACIV 109) as Motor Vehjcle~Personal lnjuryi'Property
Damage*'Wrongtitl Deatli; Personal lujury!Property [`)arnage!Wrongful-Death-'
_Uni,nsured Motorist; Produ__ct liability (other than asbestos or
toxici'environmental); Medical Malpractiee;Plrysicians ,& Surgeons; bther
Profe¢sional Health Care Malpraetice; Premises Liability; bitentional Bodily
lnjury!Property Damagefwrongfill Death; or Other Personal Injur)rill’ropert}y'l
Damage{Wrongful Death. An action for intentional infliction of emotional
distress,- defamation civil ddhthBcdmmadoa or malpractice (otlier than
medical malpractice), is not included in this definition An action for injury to

real property is nor clauses in sss definitions (Locai sun 2.3-(a)(1)(n).)

 

Case 2:19-cv-00718-JLS-DFM Document 1-2 Filed 01/30/19 Page 33 of 40 Page-|D #:75_'

|J __

20l ?-81-009-00

l y Consistent with Local Rul_e 2.3(a)(l)(_A), the Court lwill assign a case to the Pl Courtsr

2 ifplaintit‘f(s) check any of the following bones in the Civil Case Cover Sheet Addendum:

, 3 A?l 00 Motor Ve‘nicle -_ lPersonal lnjuryr'Property DamagefWrongtill
4 ` . .
. Death
5 , . . _ - -
6 __ '.A7110 Personal lnjury,’Property DamagefWrongful Death - Unins_ured
7 Motonst
3 A?260 Pioduct Liability (not asbestos or toxic/environmental)
9 A?210 Medical Malpractice -;Physicians & Surgeons_
10 A?240 Medical Malpract-ice -_Other Professional Health Care Malpractioe
11 ' ` l - ' n
_ A?ZSO Premises Liabili_ty (e.g., slip and fall)
y 12 - . .
' A?230 Intentional Bodily lnjury)"Property Damage/Wrongful Death (e.g.,
13 ‘ -
14 assault, vandalism etc.)
15 ATZZO Other Personal Idjuryi‘Property DamagefWrongful Death
16 ' , _ The Court will not assign cases _to the PI Courts if plaintiff(s) check any boxes

17 elsewhere in the Civil Case Cover Sheet Addendurn (anv boxes on pages _two and three of tha_li-

18 form).

19

20 Thc Court sets the above dates in this action in the PI Cou_rt circled above {Deparim'_enti

21 91, 92, 93, 97, or 98) at the Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA
22 90012. (C.t£.c. sales .714(b)(3), 3.?29.) `

23

24 curiae os`oocosssnrs
25

2. Parties may tile documents in person at the filing window, via U.S. Mail, via es
26 ' `
. Detivery, which is available online at',wmv.laconn‘.ong (link on homepage). Please note that
27 , '

 

 

 

Casel2:19-‘cv-00718-.]LS¢DF|\/| Documen_t 1-2 Filed 01/30/19 Page 34 of 40 -Pag`e ||I_) #:76

ll}.

-i i.
,12'
13

'14

1_5

' 16
17
1-3'

19

2a

2i
22

23

24.

2;5

26

27'

 

 

2011-81~009~00

filings are no longer accepted via facsimile and must be filed either in`per_son, via U.S. mail on
via e-Delivery. Claims involving an attorney-client fee dispute, documents in which the filing
party is a minor, legally incompetent person, or person for whom a conservator has been
appointed Requects to Waive Court Fees (FW-OOI) and Requests for Accomrnodations by
Persons with Disabilities (MC-410), may not be filed via e-Delivery. n
SEl{VICE'OF,SUDdMONS A.ND COMPLAINT

3. Plaintiff(s) shall-serve the summons and complaint in this action upon defendant(s] a
soon as possible but no later than v three years from the date when the complaint is filed1
(C.C. P. § 583.210, subd. (a).) On the OSC re Disrnissal date noted above, the PI`Court will1
dismiss the action auditor all unserved parties unless the plaintift'(s) show cause why the action
or the unserved parties should not be dismissed. (C.C.P. §§ 583.250; _581, subd. (b)(4).)

4. 'I`he Court sets the above trial and FSC dates on condition that plaintifl`(s) effectuate
service on defendant(s) of the summons and complaint within six months of filing the `
complaint

s_. "Tite PI court vital dismiss the ease without prejudice putsth te `c.c.i=. § ssi when _

no party appears for trial.

STEPULATIONS 'I`U CONTINUE TRHAL
6. Provided that all parties agree (and there is no violation of the “live-year rule,” C.C.P.

§ 583.310), th_e parties may advance or continue any trial da_te in the PI _Courts without showing

good cause or articulating any reason or justification for the change To continue or advance

a trial date, the parties (or their counsel of record)_ should jointly execute and submit (in Roo_m

102 of the Stanley Mosk Courthouse, via U.S. mail or via e-Deliva'y; fee required) ai

 

q

Cas_e' 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 'Page 35 of 40 Page |D #:77

_ am r~SJ-ch-oo

l Stipnlation to Continue Tr_ial, _FSC_ and Related Motion)'Discovery Datcs (form LACIV C'TRL-
2 242, available on the court’s website, Personal Injury Court link). 'The PI Courts schedule

~ 3 FSCs for _10:00 a.m,, eight (8) court days before the trial date. Parties seeking to continue the

4 trial and FSC dates shall tile the Stipul_ation at least eight court days before the FSC datc.
: Parties seeking to advance the trial and FSC dates shall tile the Stipulation at least eight court
7 days before the proposed advanced FSC date. (C.C.P-. § l595.2; Govt. Ccde § ?061'}‘, Subd.
_` 8 .. (c)(Z}.) -ln selecting a new trial date,' parties should-avoid setting on any Monday, or the

g _Tuesday following-a court holiday. Parties may submit a maximum of two stipulations _to

10 _ continue trial, for a total continuance of six months. Sub sequent requests to continue trial Will

` -11' '5 be granted upon a`showing of good cause by noticed motion. This rule is retroactive so-thav

12 any previously granted stipulation to continue trial will count toward the maximum number 01
_.13`,` " _ ' _
" _ allowed ct_?lntinual'lcesl
` tit 5
1'5 "_ _ _ l ,
16 NO CASE MANAGEIVIENT CONFERENCES _. _
l? - 7. The PI Courts do not conduct Case Managernent Conferences. The parties need not

13 b file a C'ase Management Statement.

` -19
_ f _ `

39 _ saw linn Mo'rroiv

md l "8. Any documents w'itli' declarations andfor exhibits must be tabbed. (C.R.C. Rule 3.1110(£).)
22 1 ` `All depositions excerpts referenced in briefs must be marked on the transcripts attached las exhibits
23 1 (C.R.C. Rule 3.1116(c).)
24 .

.25 '
25

27

 

 

 

Case 2:`19-'cv-_00718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 Page 36 of 40 Page |_D #:78

_ - ' zalr.si.ocs-oo

1 CnAMBsns comes ammann y '

'2 9. In addition to filing original motion papers in Room 102 of the Stanleyl_lvl_osk
. 3 Courthouse, via U.S. mail or via e_-Delivery, the parties must deliver, directly to the PI_Court

4 courtrooms, 'an extra copy (rn'arked “Charnbers Copy") of reply briefs land all other motion

: - papers filed less than seven (7) court days before a hearing calendared in the PI Courts. The

? PI (_iourts also strongly encourage the parties filing`and opposing lengthy motions, such an

8 motions for summary judgment/adjudication, to submit one or more three-ring binders
9 organizing the Chambers Copies behind tabs.
10

11 anssRvArION nEAnlNc cars

12 10. ' Parties are`directed to reserve'hean`ng dates for motions in the PI Courts using the Court
13_ Reservation System (CRS) available online at www;idcourt.'or'g (link on hornepage). latter
:: reserving a motion hearing date,- the reservation requester must submit the papers for filing l
16 with the reservation receipt (CRS) number printed'on the face page of the docuirier"itl under 'ihe'
17 . caption and attach the reservation receipt as the last page. Parties or counsel who are unable

13 to utilize the online CRS may reserve a motion hcaring:'date by calling the PI Court courtroom,.

l9 Monday through Friday, between 3 :00 p.m. and 4:00 'p.m.

20 `
21 wrrnnaawAL or Mo'rrons
22 . ll. California Rules of Court, Rule 3._1304(b) requires a moving party to notify the court `
:: immediately if a'matter will not be-heard on` the scheduled date. ln keeping with that rule, t_h_e
- . PI Courts urge parties who amend pleadings in_' response to demurrers to tile amended

25
26 l pleadings before the date when opposition to the demurrer is_due_so that the PI Courts do not

27 needlessly prepare tentative rulings on demurrers.

 

 

 

Case 2:19-cv-OO718-.]LS-DFI\/| Document 1-2 Filed 01/30/19 Page 37 of 40 Page |D #:79

o

201 7~3]-009-0[]

l DHSCOVERY MOTIONS

2 l2. _The purpose of an lnt`ormal Discovery Conference (“IDC”) is to assist the parties to l

3_- resolve and!or narrow the scope of discovery disputes Lea`d_trial counsel on each side, on
_ 4 another attorney with i"ull authority to make binding agreements, must attend in person _ The
: l’l judges have found that,- in nearly every case, the parties amicably resolve disputes with the
17 assistance-ofthe Cou.rt. n d n l 1
8 l3. Parties _rg;g_s_t_-participate in an I`DC.M a Motion to Compel Further Responses to

9 Discovery will be heard, unless, the moving party submits evidence, by way of d_ecl_aratijor`i,
.10 that the opposing party has failed or refused to participate in an lDC. Scheduling o'ri

11 participating in an IDC does not extend any deadlines imposed by the Code _ot` Civil Pr`océdure

12 for noticing and filing discovery motions Ideally, the parties should participate in an IDC
13 before a motion is filed because the IDC may avoid the necessity of a motion or reduce\i__t_'st
14 scope Beoause ot` that possibility, attorneys are encouraged to stipulate to extend the 45 (er
:: 60) day deadline for filing a motion to compel timber discovery responses in`order- tol'ali'_<'aw
17 l time to participate in an IDC. If parties do not stipulate to extend the deadlines, tire-nrdvi_n_g

13 ` party may file the motion`to avoid it'being deemed untimely. Howeve_r, the IDC must take
19 ' place before the motion is heard so it is suggested that the moving party reserve a date for ._the

20 lmotion hearing that is at least 60 days alter the date when the IDC reservation is made. Motionsi

211 l to Compel Fuxther Disco very Responses are heard`at lO:OQ a.rn. It` the IDC is not `product_iv_'é'-,_
22 the moving party may advance the hearing on a Motion to Cornpel Further 'I`)i'_s_eovex_=y' _
:.: Responses on any available hearing date that complies with the notice requirements of the
25 Code of Civil Procedure. n
26 14. Parties are directed to reserve IDC dates in the PI Courts using CRS available online ah

27 wivw.lacourt.org.(linlc on hornepage). Parties are to meet and confer regarding the available

 

 

 

Case 2:19-cv-00718-.]LS-DF|\/| Document 1-2 Filed 01/30/19 Page 38 of 40 Page |D #:80

ZUl 7-81-009»00

l dates in CRS prior to `accessing the system. After reserving the IDC date, the reservation

2 reducstor must tile in the appropriate department and serve an Int`ormal Discovery Conferenc.e

3 Forrn for Personal Injury Courts, from LAClV-239 (revised'lZ:‘ 14- or later), at least 15 court ,

4 days prior to the conference and attach the CRS reservation receipt as the last page.l The

: n opposing party may-file and serve a responsive IDC Fon'n, briefly setting forth that party’sl
-_? l response, art-least 10 court days prior to thelIDC.

8 ' 15, Time permitting, the Pl Hub judges may be available to participate in lDCs to try t`o
9_ resolve other types of discovery disputes
10`

11 Ex PARTE APPcharloNs

 

    
  

12 16. Under the California Rules of Court, courts may only grant ex parte relief upon al
13 "showing, by admissible evidence, that the moving party will suffer “irreparable harm,"
:: - “immediate danger," or where the moving party identifies “a statutory basis forl grantingi`reli_e_fl'
16 ex parte.” (C.R...C Rule_3.1202(c).) lite Pl Courts have no capacity to hear multiple expert

1? applications or to shorten time to add hearings to their fully booked motion calendars. The P--'
13 Courts do not regard the Cdurt’s unavailability for timely motion hearings as an l‘*ii:i'tn'ied`iat a

19 l danger" or threat of “irreparable harm” justifying ex parte relief. Instead of seeking ex_p`z`rrt"

20 relief, the moving party should reserve the earliest available motion hearing date (even if it is
m after the scheduled trial date) and should `file a motion to continue trial. Parties should also
22_ ` ' _

check the Court Reservation System from time to time because earlier heating dates may
23' ,

become available as cases settle or hearings are taken off calendar.
24 '
2§'
26
27

' 8

 

 

 

' Case 2:19-cv-OO718-.]LS-DFI\/| Docur__nent 1-2 Filed 01/30/19 Page 39 of 40 Page |D #:Slj.

2017-simeon

1 REQUEST FOR TRANSFER 'll`O IN'DEPENDENT CALENDAR DEPARTMENT

2 -l'l'. lParties seeking to transfer a case from a PI Cou_rt to an Independent Calendar (“UC‘_‘)

3 , bond shall file (in Room 102 of the Staiiley Mosk Courthouse, via U.S. mail or via e-Delivery)
4 and serve the Court’s “Motiori to 'l`ransfer Complicated Personal lnjury-Case to lndepcnd ent
5 Catendar Court" (form LACIV 23 8, available on the Court’s website under the PI Courts link).
: The PI Courts will transfer a matter to an L’C Court if the case is not a “Personal Injurjf_’ case
8 as defined in this Order, or if_itlis “complicated.” ln determining Whether a personal injury

9 case is “complicated” the PI Courts will consider, among other things, the number of pretrial

10 hearings or the complexity of issues presented

1 l 18. Parties opposing a motion to transfer have five _court days to file (in Room 102, vial
12 U.S. mail or via e-Delivery) an Opposition (using the same LACIV 238 Mot_ion _to 'l`rar:\sfelJ
13' `
~ form).
14 - _ . - ' .
19. The PI Courts will not- conduct a hearing on any Motion to Transfer to I!C Court.
15 _ - . ' . . _
16 Althou'gh the parties may stipulate to transfer a case to an independent Calendar Departrnent-.,
17 the PI Courts will make an independent determination whether to transfer the case or not.

l 8
19 GENERAL ORDER »- I"I.NAL STATUS CONFERENCE

.20' 20- Parties shall comply with the requirements of the PI Courts’ “Fourth Amended Gene_ra_l1

j 21 Order - Final Status Conference," which shall he served with the summons and complaint-l
22. f y
23
_ `- = JlU`RY FEES
24 . '
25 21. Parties must pay jury fees no later than 365 calendar days after the filing of the`in'i`tial
26 complaint (C. C. _P. § 631,_suhds. (b) and (c).]
27

 

 

 

Case 2:19-CV-00718-.JLS-DFI\/l Document 1-2 Filed 01/30/_10_ Page 40 of 40 Page |D #:82

10
11
12
13
14
115
»16-
11
is

'19_ .

20

_2 1

.22_

23"

241 d

25
26

27

' (C.c.P. §§ 1`28.?, 1`3? and Gev. Cede, § 68608, subd (b).)

 

 

1201 7131-009-00

JURY TRIA.L:S
22.` - 'l"he PI Courts do not conduct jury trials. On the trial date, a Pl Court will transfer the
c_ase to the Master Calendar Court_in Department One_ in the Stanley Mosk _Courth`ouse:
Depanmem one assigns cases ear rer met re dedieeied` earn rda cenmeeme end designated

Craniiiel Ce\irrreems.

SANCTIONS

23. The Court has discretion to impose sanctions for any violation of this general order.`

   

Los Angeies Superior Court

10

 

\

